                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CRAIG CUNNINGHAM,                             )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       No. 3:14-2181
                                              )       Judge Sharp
                                              )
TRILEGIANT CORPORATION, et al.,               )
                                              )
               Defendants.                    )

                             DEFAULT JUDGMENT AND ORDER

       The Magistrate Judge has entered a Report and Recommendation (Docket No. 44)

recommending that a default judgment be entered against the defaulted Defendants in the amount of

$3,000.00. That figure is based upon the Magistrate Judge’s assessment of Plaintiff’s credibility at

an evidentiary hearing in which Plaintiff requested that amount for Defendants’ willful and knowing

violations of 47 U.S.C. §§ 227(b) and (c). No objections have been filed to the R & R.

       Having undertaken de novo review of the record in accordance with Rule 72 of the Federal

Rules of Civil Procedure, the Court agrees with the recommended disposition. Accordingly,

       (1) The Report and Recommendation (Docket No. 44) is hereby ACCEPTED and

APPROVED;

       (2) A DEFAULT JUDGMENT is hereby ENTERED in favor of Plaintiff and against

Defendants Safe Data Trust, Inc., Exclusive Incentive Marketing, Inc., Douglas Freedman, and Jason

Stavitsky, jointly and severally, in the amount of $3,000.00.

       It is SO ORDERED.


                                                      ____________________________________
                                                      KEVIN H. SHARP
                                                      UNITED STATES DISTRICT JUDGE




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